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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 7

CHICKEN SOUP FOR THE SOUL                                            Case No. 24-11442 (MFW)
ENTERTAINMENT, INC., et al.,
                                                                     (Jointly Administered)
                                              1
                                   Debtors.


GEORGE L. MILLER, CHAPTER 7 TRUSTEE,                                 Adv. Proc. No. 25-ap-_____ (MFW)

                                   Plaintiff.

v.

WILLIAM J. ROUHANA, JR., AMY L. NEWMARK,
CHRISTOPHER MITCHELL, FRED M. COHEN,
COSMO DENICOLA, MARTIN POMPADUR,
CHRISTINA WEISS LURIE, DIANA WILKIN,
VIKRAM SOMAYA, JASON MEIER, AMANDA R.
EDWARDS, CHICKEN SOUP FOR THE SOUL
PRODUCTIONS, LLC, CHICKEN SOUP FOR THE
SOUL, LLC, CHICKEN SOUP FOR THE SOUL
HOLDINGS, LLC,

                                   Defendants.

        COMPLAINT FOR (I) BREACH OF FIDUCIARY DUTY; (II) AIDING AND
    ABETTING BREACH OF FIDUCIARY DUTY; (III) AVOIDANCE OF FRAUDULENT
     TRANSFERS; (IV) RECOVERY OF ILLEGAL DIVIDENDS; (V) DAMAGES FOR
     NON-PAYMENT OF EMPLOYEE WAGES, BENEFITS AND PAYROLL TAXES;
     (VI) EQUITABLE SUBORDINATION; AND (VII) DISALLOWANCE OF CLAIMS




1
  The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number (where applicable), are: 757 Film Acquisition LLC (4300); Chicken Soup for the Soul Entertainment Inc.
(0811); Chicken Soup for the Soul Studios, LLC (9993); Chicken Soup for the Soul Television Group, LLC;
Crackle Plus, LLC (9379); CSS AVOD Inc. (4038); CSSESIG, LLC (7150); Digital Media Enterprise, LLC;
Halcyon Studios, LLC (3312); Halcyon Television, LLC (9873); Landmark Studio Group LLC (3671); Locomotive
Global, Inc. (2094); Pivotshare, Inc. (2165); RB Second Merger Sub LLC (0754); Redbox Automated Retail, LLC
(0436); Redbox Entertainment, LLC (7085); Redbox Holdings, LLC (7338); Redbox Incentives LLC (1123);
Redwood Intermediate, LLC (2733); Screen Media Films, LLC; Screen Media Ventures, LLC (2466); and TOFG
LLC (0508).



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          George L. Miller, the duly appointed chapter 7 trustee of the above-captioned Debtors’

estates (the “Trustee” or “Plaintiff”), on behalf of Chicken Soup for the Soul, Inc. (“CSSE” or

the “Company”) and the other Debtors’ estates, and as Plaintiff in the above-captioned adversary

proceeding, and against the above-captioned defendants (collectively, the “Defendants”), hereby

alleges on information and belief:

                                                INTRODUCTION

        1.          Prior to seeking bankruptcy protection in June 2024, the Debtors were victim of

mismanagement and pillaging by insiders on a scale rarely seen with public companies. The

Debtors were at all relevant times dominated and controlled by William J. Rouhana, Jr.

(“Rouhana”), who directly and indirectly owned the majority of the Company’s voting stock,

served as the Chairman of the Company’s board of directors, and acted as its Chief Executive

Officer. Although the Debtors reported net losses every year beginning in 2018, Rouhana treated

the Debtors as his personal piggybank throughout, while neglecting the most basic corporate

duties. The Company’s other directors and officers were conflicted, beholden to Rouhana,

supine and failed to exercise independent judgment or to act in the interests of the Company.

        2.          As described more fully herein, the Defendants’ misconduct included causing the

Company to:


                    (1)        pay to its controlling shareholder 10% of its net revenues each quarter,
                               totaling over $55 million since 2020, notwithstanding the Company’s
                               insolvency and enormous losses during that period;

                    (2)        pay tens of millions of dollars in dividends to its preferred shareholders
                               when the Company was insolvent;

                    (3)        assume hundreds of millions of dollars in debt that the Company had no
                               ability to service in connection with the acquisition of an insolvent entity,
                               solely on the basis of management’s unreasonable projections (rather than
                               those of the Company’s retained financial advisor), and to obligate the
                               Company to pay a portion of the acquired entity’s revenues pursuant to
                               insider management and licensing fee arrangements and, upon the


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                               consummation of the transaction, to purportedly release the Defendants
                               from all claims in exchange for no consideration;

                    (4)        enter into numerous licensing agreements with Rouhana’s personal
                               contacts and others for less than fair value; and

                    (5)        fail to pay millions of dollars in employee wages, medical benefits, and
                               payroll taxes, while transferring millions of dollars to the Company’s
                               shareholders.

        3.          At each stage, the Defendants were motivated by a desire to maintain control over

the Debtors and to protect their own interests, rather than those of the Debtors. The Defendants’

misconduct and dereliction of duty caused the Debtors and their creditors significant harm.

        4.          By this action, the Trustee seeks redress for that harm, including through claims

to (i) recover damages for the Defendants’ negligence, gross negligence, bad faith and repeated

breaches of fiduciary duties, including the duty of loyalty and duty of care, and for aiding and

abetting these breaches of fiduciary duties; (ii) recover transfers made by the Company to its

shareholders as fraudulent transfers and as illegal dividends under applicable law; (iii) avoid the

agreement to release claims against the Defendants and the prejudicial intellectual property

license agreements as fraudulent transfers; (iv) recover damages for the non-payment of

employee wages, benefits, and payroll taxes; and (v) disallow and equitably subordinate any

claims asserted by or on behalf of the Defendants in the Debtors’ bankruptcy cases.

                                        JURISDICTION AND VENUE

        5.          On June 24, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief in the United States Bankruptcy Court for the District of Delaware

(“Bankruptcy Court”) under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101,

et seq. (“Bankruptcy Code”). On July 10, 2024, the Bankruptcy Court converted the Debtors’

bankruptcy cases to chapter 7 of the Bankruptcy Code. [D.I. 120]




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          6.        This action arises out of and relates to the Debtors’ bankruptcy cases and is a core

proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B), (H) and (O). The Bankruptcy Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

          7.        Venue in this district is proper pursuant to 28 U.S.C. § 1409(a).

                                                THE PARTIES

                                             The Trustee Plaintiff
          8.        On July 11, 2024, George L. Miller was appointed as the chapter 7 trustee of the

Debtors’ estates. The Trustee is the Plaintiff in this action and brings this action on behalf of the

Debtors’ estates. With one exception, each of the Debtors is a corporate entity incorporated, or a

limited liability company formed, under Delaware law.2

          9.        Plaintiff is vested with, among other things, the powers described in section 704

of the Bankruptcy Code, including the power to investigate the financial affairs of the Debtors

and to collect and reduce to money property of the estates.

                                    The Director & Officer Defendants
         10.        Defendant William J. Rouhana, Jr. (“Rouhana”) is an individual and is the

husband of Amy L. Newmark. At all relevant times since its formation, Rouhana served as the

Chairman of the Board of Directors of the Company (the “Board”), the Chief Executive Officer

of the Company, controlled the Company and its subsidiaries (including all of the Debtors), and

controls each of the CSS Entities (as such term is defined herein).

         11.        Defendant Amy L. Newmark (“Newmark”) is an individual and is the wife of

Rouhana. At all relevant times since its formation, Newmark served as a member of the Board.

Newmark also served as Senior Brand Advisor to the Company pursuant to the CSS




2
    Debtor Locomotive Global, Inc. is a Wyoming corporation.



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Management Agreement between the Company and CSS and, with Rouhana, owns the CSS

Entities (as such terms are defined herein).

       12.          Defendant Christopher Mitchell (“Mitchell”) is an individual. At all relevant

times, since June 2021, Mitchell served as a member of the Board. Mitchell also served as the

Company’s Chief Financial Officer for the period from January 1, 2019 through November 2022

and, since January 1, 2019, has served as the Chief Financial Officer of CSS.

       13.          Defendant Cosmo DeNicola (“DeNicola”) is an individual. At all relevant times,

since June 2019, DeNicola served as a member of the Board.

       14.          Defendant Fred M. Cohen (“Cohen”) is an individual. At all relevant times, since

June 2016, Cohen served as a member of the Board.

       15.          Defendant Christina Weiss Lurie (“Lurie”) is an individual. At all relevant times,

since June 2016, Lurie served as a member of the Board.

       16.          Defendant Diana Wilkin (“Wilkin”) is an individual. At all relevant times, since

June 2016, Wilkin served as a member of the Board.

       17.          Defendant Vikram Somaya (“Somaya”) is an individual. At all relevant times,

since October 2021, Somaya served as a member of the Board.

       18.          Defendant Martin Pompadur (“Pompadur”) is an individual. At all relevant times,

since June 2019, Pompadur served as a member of the Board.

       19.          Defendant Jason Meier (“Meier”) is an individual. Since November 2022, Meier

has served as the Chief Financial Officer and Principal Accounting Officer of the Company.

Prior to this time, commencing September 2021, Meier served as Executive Vice President,

Finance and Chief Accounting Officer of the Company.




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        20.         Defendant Amanda R. Edwards (“Edwards”) is an individual. At all relevant

times, since 2017, Edwards served as Chief of Staff for Rouhana. In addition, for the period

May 2022 through December 2023, Edwards served as the Company’s Senior Vice President and

Chief of Staff and, for the period January 2024 to October 2024, Edwards served as the

Company’s Executive Vice President of Operations.

        21.         Rouhana, Newmark, Mitchell, DeNicola, Cohen, Lurie, Wilkin, Somaya, and

Pompadur are referred to herein as the “Board” or “Board Defendants.” Rouhana, Mitchell,

Meier, and Edwards are referred to herein as the “Officers” or “Officer Defendants.” Together,

the Board Defendants and the Officer Defendants are referred to herein as the “D&Os” or “D&O

Defendants.”

                                     The CSS Entity Defendants
        22.         Defendant Chicken Soup for the Soul Productions, LLC (“CSSP”) is the parent

and controlling stockholder of the Company, owning approximately 100% of the Company’s

Class B common stock (representing an ownership of 36.7% of the total outstanding common

stock and 85% control of the voting power of the Company).3 CSSP is controlled by Rouhana.

CSSP is a Delaware limited liability company.

        23.         Defendant Chicken Soup for the Soul, LLC (“CSS”) owns 100% of CSSP. CSS

is controlled by Rouhana. CSS is a Delaware limited liability company.

        24.         Defendant Chicken Soup for the Soul Holdings, LLC (“CSS Holdings”) owns

100% of CSS. CSS Holdings is controlled by Rouhana. CSS Holdings is a Delaware limited

liability company.




3
    CSSE’s Annual Report (Form 10-K) for the fiscal year ended December 31, 2022 (the “CSSE 2022 Annual
    Report”) at F-37.



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        25.         CSSP, CSS, and CSS Holdings are referred to herein as the “CSS Entities” or

“CSS Entity Defendants.”

                                         STATEMENT OF FACTS

A.        Rouhana’s Unchecked Control Over the Company

        26.         The Company formerly operated primarily through its Debtor subsidiaries as a

provider of streaming on-demand video and television services. Rouhana, as the Company’s

CEO, Chairman of the Board, and the person in control of the CSS Entities, effectively

controlled all operational and financial activities of the Company and its subsidiaries. Rouhana

also exerted significant and unjustifiable control over the other D&Os and their decision making.

As the Company candidly acknowledged in its annual securities reports:4

                    Our chairman and chief executive officer effectively controls our
                    company.

                    We have two classes of common stock – Class A Common Stock, each
                    share of which entitles the holder thereof to one vote on any matter
                    submitted to our stockholders, and Class B Common Stock, each share
                    of which entitles the holder thereof to ten votes on any matter submitted
                    to our stockholders. Our chairman and chief executive officer, William
                    J. Rouhana, Jr., has control over the vast majority of all the outstanding
                    voting power as represented by our outstanding Class B and Class A
                    Common Stock and effectively controls CSS Holdings and CSS, which
                    controls CSS Productions, and, in turn, our company. Further, our
                    bylaws provide that any member of our board may be removed with or
                    without cause by the majority of our outstanding voting power, thus
                    Mr. Rouhana exerts significant control over our board. This
                    concentration of ownership and decision making may make it more
                    difficult for other stockholders to effect substantial changes in our
                    company and may also have the effect of delaying, preventing or
                    expediting, as the case may be, a change in control of our company.




4
    Id. at 28 (emphasis added). See also CSSE’s Annual Report (Form 10-K) for the fiscal year ended December 31,
    2021 (the “CSSE 2021 Annual Report”) at 22, and CSSE’s Annual Report (Form 10-K) for the fiscal year ended
    December 31, 2023 (the “CSSE 2023 Annual Report”) at 26.



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        27.         Due to Rouhana’s unilateral control of the Company and its subsidiaries, and his

ability to remove the other D&Os without cause, the other D&Os were beholden to Rouhana, did

not act contrary to his wishes, and did not function as proper directors and officers of a Delaware

publicly traded company.

        28.         As set forth in the Company’s annual reports:5

                    Our shares of Class A Common Stock and Class B Common Stock
                    vote together as a single class and are the only class of our
                    securities that carry full voting rights. Mr. Rouhana, our
                    chairman of the board and chief executive officer, beneficially
                    owns the vast majority of the voting power of our outstanding
                    common stock. As a result, Mr. Rouhana exercises a significant
                    level of control over all matters requiring stockholder approval,
                    including the election of directors, amendment of our certificate
                    of incorporation, and approval of significant corporate
                    transactions. This control could have the effect of delaying or
                    preventing a change of control of our company or changes in
                    management and will make the approval of certain transactions
                    difficult or impossible without his support, …

        29.         As described below, Rouhana breached his fiduciary duties to the Debtors, based

on his undue control and influence over the Debtors, the other D&Os and the CSS Entities.

Through deception and manipulation, Rouhana ran the Company with a focus first and foremost

on maintaining his control and influence, and on maximizing shareholder gain for his benefit,

even while the Company was insolvent.             Rouhana (aided by the Officers on his financial

management and executive teams, including Mitchell and Meier, and his right-hand person

Edwards), adopted wildly unrealistic business projections and plans – which the other D&Os

blindly accepted – leading the Company to a dire position: zero liquidity, deteriorating assets,

entry into insider and unfavorable transactions that drained the Company’s coffers, the non-




5
    CSSE 2022 Annual Report at 31 (emphasis added). See also CSSE 2021 Annual Report at 25 and CSSE 2023
    Annual Report at 29.



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payment of millions of dollars in employee payroll, medical benefits, and taxes and, ultimately,

the Debtors’ free-fall bankruptcy filing.

          30.       As described below, the other D&Os breached their fiduciary duties to the

Debtors by allowing Rouhana to exert undue and unreasonable control and influence over them,

the Debtors, and the CSS Entities. The other D&Os did not act as proper directors and officers

of a Delaware corporation. They were supine and loyal to Rouhana and utterly failed to

adequately oversee him and curtail his entry into self-interested and unreasonable transactions.

They were negligent and failed to make reasoned and informed decisions; instead, beholden to

Rouhana, they abdicated their fiduciary responsibilities and placed Rouhana’s and their own

interests ahead of those of the Company. The Company’s Board minutes reflect that the other

D&Os unreasonably relied on, did not question, and/or rubber-stamped Rouhana’s

determinations and dictates.        The other D&Os consistently failed to obtain and/or ignored

pertinent information that would have allowed them to make reasoned and informed decisions

and act for the benefit of the Company, as they were required by law to do. Instead, the D&Os’

loyalties lay with Rouhana at the expense of the Company. The other D&Os’ failure to oversee

and check Rouhana’s self-interested, deceptive, and manipulative actions led to the demise of the

Debtors.

B.         The Failure of Internal Controls and the Debtors’ Demise

          31.       The Company began to report annual net losses no later than 2020. The Company

reported net losses of approximately $44.6 million in 2020,6 $59.4 million in 2021,7 $111.3

million in 2022,8 $636.6 million in 2023,9 and $52.9 million in the first quarter of 2024.10


6
    CSSE 2021 Annual Report at 5.
7
    Id.
8
    CSSE 2022 Annual Report at 6.



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Throughout that period, the Company reported negative cash flows from operations. 11 In most

years, the Company had relatively little free cash on hand. In 2023, the Company’s liabilities

exceeded the book value of its assets by over $500 million.12

         32.        The Company’s stock price declined in value during this period as a result of its

insolvency and, in September 2023, the Company received a determination from NASDAQ to

delist its stock.13 Beginning with the third quarter of 2023, the Company’s financial statements

contained a going concern qualification.14

         33.        As bad as the Company’s reported performance was, those public reports did not

accurately reflect the Company’s true financial condition. In May 2024, the Company

acknowledged that its internal controls over financial reporting and operations were not

effective, including in connection with the disastrous merger with Redbox in 2022 (described

below), stating that:15

                    Management concluded that the Company’s internal controls over
                    financial reporting were not effective at the reasonable assurance
                    level as of December 31, 2023. As a result of our evaluation, we
                    identified a material weakness in our controls related to
                    implementation and testing of design and operating effectiveness
                    of controls, including Redbox that was acquired in 2022 . . .



9
     CSSE 2023 Annual Report at 5.
10
     CSSE Quarterly Report (Form 10-Q filed May 20, 2024) at 35.
11
     Id. at 43 (stating that cash flow was negative $502,728 for the period ended March 31, 2024); CSSE 2023 Annual
     Report at 49 (showing negative cash flows of approximately $62.9 million for 2023 and $23.3 million for 2022);
     CSSE 2021 Annual Report at F-7 (showing negative cash flows of approximately $50 million in 2021 and $40.5
     million in 2020).
12
      CSSE 2023 Annual Report at F-6 (showing total assets of approximately $422.3 million and liabilities of
     approximately $925.8 million).

13
     CSSE Current Report (Form 8-K filed March 29, 2024).
14
     See, e.g., CSSE Quarterly Report (Form 10-Q filed December 22, 2023) at 9-10; CSSE Quarterly Report (Form
     10-Q filed May 20, 2024) at 8-9.
15
     CSSE Quarterly Report (Form 10-Q filed May 20, 2024) at 45.



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       34.          There is no indication in the Company’s Board minutes that the D&Os requested,

or were provided with, sufficient information to allow them to understand and/or address the

Company’s dire financial straits, including as to the admitted failure of the Company’s internal

controls over financial reporting. Instead of obtaining, analyzing, questioning and considering

the information reasonably necessary to act in the best interests of the Company, the D&Os were

conflicted, supine and loyal to Rouhana, rubber-stamping his self-interested plans and

unreasonably supporting his determinations and dictates to the Company’s detriment.

C.        The Redbox Merger

       35.          No later than March 2022, the Company began exploring a potential acquisition

of Redbox Entertainment Inc. (“Redbox”). CSSE was floundering at the time; its stock price had

tanked from approximately $40/share in May 2021 to approximately $8/share in March 2022,

and it reported a net operating loss of approximately $59.4 million in 2021 and would later report

a net operating loss of approximately $111.3 million in 2022. Even these large reported losses

were likely underestimated, as the Company subsequently announced that its internal controls

over financial reporting were not effective.

       36.          Redbox operated a legacy business focused on renting physical DVDs and Blu-

ray Discs from a nationwide network of approximately 32,000 self-service kiosks. While once

successful, Redbox’s business was in steep decline by 2022. Customers’ rapidly changing

preference for on-demand streaming services and the effects of the COVID-19 virus caused

Redbox’s revenues to drop precipitously from over $1 billion in 2018 to approximately $289

million in 2021. Redbox’s adjusted EBITDA dropped from approximately $292 million in 2018

to negative $17 million in 2021. Redbox’s business was in a free-fall.

       37.          In March 2022, while the Company was actively negotiating a potential

acquisition of Redbox, Redbox failed to timely file its annual form 10-K. Redbox disclosed


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publicly in April 2022 that it was continuing to assess whether substantial doubt existed about its

ability to continue as a going concern. Around the same time, Redbox’s board of directors was

advised that Redbox would likely need to file for bankruptcy if it could not secure additional

liquidity or consummate a transaction with the Company. Indeed, Redbox’s board approved

contingency planning for a bankruptcy filing if a transaction was not consummated.

Notwithstanding these events, there is no indication in the Company’s Board minutes that the

D&Os requested or obtained sufficient information to undertake a rational analysis of the

reasonableness of the transaction in light of the apparent and publicly disclosed risks, and the

Company continued to pursue a transaction with Redbox – a transaction by which the Company

would immediately become obligated to transfer a portion of Redbox’s revenues to Rouhana’s

wholly-owned entity, CSS, through insider management and licensing agreements.

         38.        The Company engaged Guggenheim Securities, LLC (“Guggenheim”) as its

financial advisor in connection with the proposed transaction, which would ultimately take the

form of a merger (the “Merger”). Guggenheim advised the Company during the period leading

up to the consummation of the Merger, including by providing presentations to the Board, with

Officers present, summarizing certain financial information, projections, and estimates of

synergies that might be realized from the Merger.

         39.        In a slide deck titled “Project Emerald Board Discussion Materials” dated May

2022 (the “May 2022 Deck”), Guggenheim summarized certain terms, strategic rationales, and

financial information relevant to the proposed Merger. A critical slide in the May 2022 Deck

that compared Redbox’s actual historical performance to its projected future performance was

identified as the “Redbox Stand-alone: CSSE Management Case.”16 This slide was intended to


16
     May 2022 Deck at 13.



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present an accurate projection of Redbox’s stand-alone revenues and earnings following a

Merger. Redbox’s revenues are shown as having dropped steadily from over $1 billion in 2018

to approximately $289 million in 2021 and its adjusted EBITDA is shown as having dropped

from approximately $292 million in 2018 to negative $17 million in 2021. Notwithstanding

Redbox’s steady and steep decline over the previous four years, the “Redbox Stand-alone: CSSE

Management Case” envisioned Redbox having explosive growth following the Redbox Merger;

beginning in 2023, Redbox’s revenues were shown as exceeding $500 million annually and its

Adjusted EBITDA was projected to grow to over $64 million annually. As reported by the

Company in its public filings, Redbox’s actual revenues for the year ending December 31, 2023

were approximately $151 million, with a net loss of approximately $454 million.17

          40.       Notably, although Guggenheim prepared the May 2022 Deck, the rosy projections

described in the “Redbox Stand-alone: CSSE Management Case” were attributed exclusively to

CSSE’s own management.                  As Guggenheim noted in the May 2022 Deck, the “CSSE

Management Case reflects adjustments made to the Redbox stand-alone case by CSSE

management, which we have been directed to use for the purposes of our financial analysis.”18

          41.       Similarly, a slide in the May 2022 Deck summarizing the Company’s stand-alone

projections shows extraordinary projected growth in revenues and EBITDA.19 The Company’s

stand-alone revenue was approximately $110 million in 2021 and its adjusted EBITDA was

approximately $22 million. Yet, the May 2022 Deck forecast that, following the Merger, the

Company’s stand-alone revenue would grow consistently at over 30% each year and that its

adjusted EBITDA would grow evenly at nearly 50% each year. Here too, the May 2022 Deck


17
     CSSE 2023 Annual Report at F-23.
18
     May 2022 Deck at 13 (emphasis added).
19
     Id. at 14.



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states that the Company’s management was the source of the projections and notes that

Guggenheim was “directed” by management to make certain assumptions.

          42.       The May 2022 Deck further projected that the combined entity’s revenues would

grow at a constant rate, from under $400 million in 2021 to well over $1 billion by 2026. 20 The

combined entity’s Adjusted EBITDA was projected to grow from approximately $5 million in

2021 to $50 million in 2022, to $156 million in 2023, and to $258 million in 2026. Again, the

Company’s management was the source of these unrealistic projections. As reported by the

Company in its public filings, the combined entity’s actual revenues for the year ending

December 31, 2023 were approximately $409 million, with a net loss of over $287 million.21

          43.       There is no indication in the Company’s Board minutes that the Board requested

or obtained sufficient information to undertake a reasoned analysis of the reasonableness of the

assumptions being utilized in the projections prepared by management – spearheaded by

Rouhana and his financial and executive management team (including, without limitation,

Mitchell, Meier, and Edwards, who were themselves under Rouhana’s influence and control) –

that provided the basis for the Merger. Nor did the Board request that Guggenheim provide an

opinion as to the reasonableness of management’s projections or that Guggenheim provide its

own projections.

          44.       Thus, while the Company retained Guggenheim to advise it on the financial

implications of a potential transaction involving Redbox, the Company “directed” its financial

advisor to conclude that the Merger would be wildly successful by assuming that each of the

Company and Redbox – two independently dying businesses – would become exceedingly

profitable immediately following the Merger. The Board relied on the May 2022 Deck in

20
     Id. at 16.
21
     CSSE 2023 Annual Report at F-24.



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approving and in seeking shareholder approval for the Merger. In light of Redbox’s negative

historical performance, the appeal to the Company of a Merger rested entirely on unreasonably

optimistic projections of future performance of the combined company, which were supplied by

the Company’s own management, rather than its financial advisor.                              These unreasonably

optimistic projections were neither questioned nor tested by the D&Os, nor did the D&Os

question Rouhana’s motivation for pushing the Company towards a transaction from which his

wholly-owned entity, CSS, would obtain the benefit of a portion of Redbox’s revenues through

insider management and licensing agreements. Rather, the projections were blindly accepted

notwithstanding that they formed the very basis for the Board’s determination to seek

shareholder approval of the Merger.

         45.        On May 10, 2022, the Company entered into a Merger Agreement with Redbox,

pursuant to which the Company agreed to transfer stock to Redbox’s shareholders and to assume

hundreds of millions of dollars in Redbox’s liabilities. The Merger was consummated in August

2022. An aggregate of approximately 4.6 million shares of the Company’s Class A common

stock was issued to Redbox’s shareholders in connection with the Merger.22 Based on a trading

price of the stock of approximately $14 per share as of the closing of the Merger on August 11,

2022, the total value of the stock issuance portion of the transaction was approximately $64.4

million.

         46.        On August 11, 2022, concurrently with the consummation of the Merger, the

Company entered into an Amended and Restated Credit Agreement (“HPS Credit Agreement”)

with HPS Investment Partners LLC, as administrative agent and collateral agent (“HPS”).

Pursuant to the terms of the HPS Credit Agreement, the Company assumed (i) all of Redbox’s


22
     See e.g., Redbox Entertainment, Inc.’s Definitive Proxy Statement filed July 15, 2022 at 23.



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obligations under an outstanding credit agreement between Redbox and HPS originally dated as

of October 20, 2017, and (ii) an $80 million revolving credit facility (together, the “HPS

Facilities”). Interest was payable on the HPS Facilities in cash or, for a period of up to 18

months, could be paid (in whole or in part) by increasing the principal amount of the HPS

Facilities (“PIK Interest”). The revolving facility matured in February 2025 and the term loan

matured in August 2027.

       47.          At the closing of the Merger, the Company assumed approximately $360 million

of debt under the HPS Credit Agreement and drew down an additional approximately $25.9

million on the revolving credit facility, all at an interest rate of 10.3% per annum.

Approximately one month later, on September 19, 2022, the Company made an additional draw

under the revolving facility of approximately $22.3 million at an interest rate of 10.85%.

Between August 2022 and February 2024, the Company elected to add PIK Interest accrued on

the outstanding debt, resulting in a total outstanding debt owed under the HPS Credit Agreement

of approximately $500 million as of the Petition Date.

       48.          All obligations under the HPS Facilities were unconditionally guaranteed by each

of the Company’s existing and future direct and indirect material, wholly-owned domestic

subsidiaries, subject to certain exceptions. The obligations of the Company and its subsidiary

guarantors under the HPS Credit Agreement were secured by a first priority lien on substantially

all of the assets of the Company and its subsidiaries, subject to certain exceptions.

       49.          Prior to the Merger, the Company had relatively little debt and interest expense.

As of year-end 2021, the Company had total gross debt of approximately $56.7 million and

annual interest expense of $4.8 million. Pursuant to the Merger, however, the Company assumed

additional liabilities that totaled approximately $528 million. By the end of 2023, the first full




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year following the Merger, the Company’s total gross debt had exploded to approximately

$562.4 million (nearly 10 times the amount of the Company’s debt prior to the Merger) and its

annual interest expense had ballooned to over $76 million (nearly 16 times the amount of the

Company’s interest expense prior to the Merger).

         50.        The Company never had the ability to service these liabilities. The Company

ended 2021 with approximately $43 million in unrestricted cash. It paid transaction costs of

approximately $17.5 million and loan closing costs of approximately $1.2 million in connection

with the Merger. As of December 31, 2022, the Company had unrestricted cash and cash

equivalents of approximately $15 million, while its total gross debt outstanding was

approximately $500.2 million. As of December 31, 2023, the Company had no unrestricted

cash, while its total gross debt outstanding was approximately $562.4 million.

         51.        As it acknowledged in its public securities filings, the Company’s ability to

service the HPS Facilities was predicated entirely on the hope that Redbox’s business would

experience a dramatic turnaround:23


                    CSSE’s merger with Redbox occurred in August 2022. The merger
                    included the assumption of $359.9 million of debt. The ability to service
                    this debt and operate our combined business operations was predicated on
                    a partial return to pre-COVID levels in the number and cadence of
                    theatrical releases that were available to the company for its kiosk
                    network, cost synergies between the companies, and the ability to
                    consummate certain accounts receivable financing. The corresponding
                    rebound in demand for physical kiosk rentals was expected to return to
                    approximately a third of 2019 levels, along with expected synergies from
                    the acquisition, and accounts receivable financing, which would generate
                    sufficient cash flows to cover the cash needs of the combined businesses.

         52.        That recovery did not happen and it never could have reasonably been expected to

happen. Redbox operated an antiquated business focused on renting a product that, by 2022, was

23
     CSSE 2023 Annual Report at F-11.



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no longer in demand. Redbox’s own financial distress was no secret and it was preparing for

bankruptcy at the same time that the Company was negotiating to acquire it. But even if Redbox

had not been a massive liability at the time, it was obvious that the Company could not support

its operations. Notwithstanding these apparent risks, the D&Os failed to reasonably test or

question the viability of the Merger from a financial or operational standpoint.

          53.       At its core, the Company (including Redbox) was a content supplier.           The

Company required significant amounts of cash to procure film licenses to supply a product to the

Redbox kiosks and its on-demand services. Following the Merger, however, the Company

lacked the cash necessary to operate or the ability to borrow it, which left the Company unable to

procure content to support its operations. As the Company stated in the CSSE 2023 Annual

Report:24

                    Redbox’s business . . . depends on our ability to obtain adequate content
                    from movie studios. We have entered into licensing agreements with
                    certain studios to provide delivery of their DVDs. These movie studios
                    have terminated our relationship due to our inability to pay their licenses
                    [sic] fees . . .

          54.       Without a product to offer, customer interest and the Company’s revenues fell

dramatically, leaving the Company further constrained and resulting in irreparable harm to the

Company’s operations. Between the closing of the Merger in August 2022 and the end of that

calendar year, the Company recorded a nearly $36 million net loss related to Redbox.               In

calendar year 2023 – the first full year following the Merger – the Company recorded an

approximate $454 million net loss related to Redbox.

          55.       In its accounting of the Merger, the Company claimed that it acquired assets

worth approximately $598 million. Over $506 million of that amount was in the form of


24
     Id. at 17.



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“intangible assets” and “goodwill.” By contrast, the Company assumed actual liabilities of

approximately $528 million in the Merger. In the third quarter of 2023 – approximately one year

following the Closing – the Company recorded an impairment charge related to certain

intangibles and goodwill of approximately $380.8 million, principally related to the

underperformance of Redbox. The Company effectively wrote-off its massive investment in

Redbox within a year.

       56.          As described above, the Company subsequently acknowledged that its internal

financial controls had failed, including specifically with respect the Merger.

       57.          The financial information provided by management – notably, Rouhana, and other

Officers on the financial and executive management teams, including Mitchell, Meier, and

Edwards – to support the Redbox Merger was wildly optimistic, unrealistic and not based on

reasonable assumptions, and its use and presentation to the Board to support the Merger was

negligent, grossly negligent, misleading, in bad faith, and constituted a breach of fiduciary duty

of care and duty of loyalty by Rouhana and the other Officers on the financial and executive

management teams.              When presented with this unreliable information and Guggenheim’s

specific disclaimers as to its source, and the Company’s obligation to pay CSS a portion of

Redbox’s revenue, the other D&Os utterly failed to properly assess or question the

reasonableness of the projections, underlying assumptions, or self-interested nature of the

transaction. Instead of obtaining sufficient information and providing appropriate monitoring

and oversight, the D&Os were conflicted, supine and beholden to Rouhana – who served to gain

from the transaction through the payment of management and licensing fees to CSS – and simply

did his bidding. Relying solely on the information provided to them by Rouhana and those




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members of the management team under his control was negligent, grossly negligent, in bad faith

and constituted a breach of the other D&Os’ fiduciary duty of care and duty of loyalty.

D.        The Insider Release Agreement

       58.          While the Company was finalizing the Merger, the D&Os took the opportunity to

procure broad releases for themselves by causing the Company to enter into a Release

Agreement dated as of May 10, 2022, on behalf of itself and several merger subsidiaries

(collectively defined therein as the “CSSE Parties”), together with certain “Apollo Parties,” HPS

Investment Partners, LLC, certain “RDBX Parties,” and Seaport Global SPAC, LLC. Pursuant

to the Release Agreement, each of the “Mutual Release Parties” – i.e., the Apollo Group Parties,

the CSSE Group Parties,25 the HPS Group Parties, the RDBX Group Parties and the Seaport

Group Parties – agreed to release claims against (i) each of the other Mutual Release Parties, and

(ii) the directors, officers, and managers of each of the RDBX Parties and CSSE. These releases

are made effective “as of the consummation of the transactions contemplated by the Merger

Agreement.”

       59.          Section 2.1 of the Release Agreement provides, in relevant part:


                    Mutual Releases and Waivers. Effective as of the consummation of the
                    transactions contemplated by the Merger Agreement (the “Effective
                    Time”), each of the Apollo Parties, the CSSE Parties, HPS, the RDBX
                    Parties and Seaport, severally and not jointly, on behalf of itself and its
                    respective Mutual Release Parties and its and their respective Subsidiaries,
                    Affiliates, or any other Person claiming by, through or for the benefit of
                    any of them, and each of their respective successors and assigns, hereby
                    unconditionally, irrevocably and forever releases and discharges each of
                    the other Mutual Release Parties, and each Party on behalf of itself and
                    its respective Mutual Release Parties and its and their respective
                    Subsidiaries, Affiliates, or any other Person claiming by, through or for the

25
  The term “CSSE Group Parties” is defined in the Release Agreement to mean “the CSSE Parties and each of their
former, current and future direct or indirect Subsidiaries and Affiliates and their respective former, current and future
officers, directors, managers, employees, representatives, agents, attorneys, successors and assigns.”



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                    benefit of any of them, and each of their respective successors and assigns
                    (including the RDBX Group Parties) hereby unconditionally, irrevocably
                    and forever releases and discharges each of the former, current and
                    future directors, officers, and managers of the RDBX Parties and CSSE,
                    to the fullest extent permitted by applicable law, from all past and
                    present Claims (other than any Excluded Claims) that such Party and its
                    respective Mutual Release Parties ever had, now has or hereafter can,
                    shall or may have, for, upon or by reason of any matter, action, inaction
                    cause or thing whatsoever from the beginning of the world to the Effective
                    Time arising out of or related to events, transactions, activity,
                    circumstances or actions occurring or failing to occur, in each case, at or
                    prior to the Effective Time, in each case that arise from or otherwise relate
                    in any way to, in whole or in part, (i) the RDBX Group Parties (including
                    the management, ownership, activities, failure to act or operation or
                    activities thereof), (ii) the CSSE Group Parties (including the
                    management, ownership, activities, failure to act or operation or activities
                    thereof), (iii) indebtedness incurred by, or equity interests in, any of the
                    RDBX Group Parties, or any merger, asset sale, equity issuance or other
                    transaction involving any of the RDBX Group Parties, (iv) indebtedness
                    incurred by, or equity interests in, any of the CSSE Group Parties, or any
                    merger, asset sale, equity issuance or other transaction involving any of
                    the CSSE Group Parties, (v) the Merger Agreement, including the
                    formulation, preparation, negotiation or execution of any of the
                    agreements or documents contemplated thereby or related thereto, or (vi)
                    any other act or omission, transaction, agreement, event or other
                    occurrence taking place on or before the Effective Time that relates to any
                    of the foregoing. Each of the Parties on behalf of itself and its respective
                    Mutual Release Parties agrees that it shall not make, and each shall not
                    permit any of its Affiliates to make, and each covenants never to, and to
                    cause its Affiliates not to, assert or voluntarily assist any Person in
                    asserting any Claim (other than any Excluded Claim) against any of the
                    other Parties or the other Mutual Release Parties with respect to any
                    liabilities or obligations released pursuant to the above. . . .26
         60.        Since the broad releases to be granted by each of the releasing parties named in

the Release Agreement (the “Insider Releases”) would take effect only upon the consummation

of the Merger, each of the D&Os had a personal interest in ensuring that the Company would

consummate the Merger. Although none of the Defendants provided any consideration to the


26
     Release Agreement, § 2.1 (emphasis added).



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Company in exchange for causing the Company to enter into the Release Agreement, each of the

Defendants stood to benefit personally – through the release of any and all claims against them

that may have been held by numerous parties – by causing the Company to enter into the Merger.

         61.        By causing the Company to enter into the Release Agreement – which was an

interested-party transaction – and to proceed with the Merger to guarantee their Insider Releases,

the Defendants placed their own interests ahead of those of the Company in violation of their

fiduciary duties.

E.         The Company Transferred 10% of Its Net Revenues to
           Its Controlling Shareholder Each Quarter

         62.        The Company is a party to a Management Services Agreement with CSS (the

“CSS Management Agreement”). Under the terms of the CSS Management Agreement, the

Company was obligated to pay CSS 5% of its net revenues for each fiscal quarter in exchange

for services provided by certain insider Defendants (including Rouhana, Newmark, and

Mitchell), certain back-office services, office space, and equipment.      Thus, under the CSS

Management Agreement, the Company was subject to a continuing requirement to pay its

controlling parent 5% of its net revenues, regardless of the Company’s financial condition,

allegedly to compensate its parent in large part for services provided by insiders, including

Rouhana.27

         63.        The Company is also a party to a trademark and intellectual property license

agreement with CSS (the “CSS License Agreement” and, together with the CSS Management

Agreement, the “Insider Agreements”). Under the terms of the CSS License Agreement, the

Company was obligated to pay to CSS 5% of its net revenues in the aggregate each quarter in

exchange for a license to utilize the Chicken Soup for the Soul brand and related content, and for

27
     CSSE 2022 Annual Report at 43.



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certain marketing support.28 Again, the Company was obligated to make these payments to its

corporate parent (owned and controlled by Rouhana and Newmark) regardless of its financial

condition.

          64.         Taken together, the Company was obligated to pay 10% of its net revenues to

CSS under the Insider Agreements (collectively, the “Insider Revenue Transfers”). The Insider

Revenue Transfers totaled over $55 million between 2020 and the first quarter of 2024, as

summarized in the table below:29

                         2020          2021            2022            2023             Q1 2024        Total
Management               $3.3M         $5.5M           $9.2M           $9.2M            $600,000       $27.8M
Fees
License Fees             $3.3M         $5.5M           $9.2M           $9.2M            $600,000       $27.8M
Totals                   $6.6M         $11M            $18.4M          $18.4M           $1.2M          $55.6M

          65.         As described above, the Company reported significant net losses during this

period and was insolvent, undercapitalized, and/or generally unable to pay its debts as they came

due. Moreover, the Company lacked either sufficient surplus or sufficient net profits to lawfully

declare the Insider Revenue Transfers.

          66.         Each of the Insider Agreements was originally entered into in 2016. The CSS

Management Agreement had an original term of five years and thereafter the term was amended

to provide for successive one-year terms unless terminated upon advance notice provided by the

Company.30 The terms of the Insider Agreements were not characterized by fair dealing or a fair

price. Rouhana acted in his own self-interest, deceived and manipulated the Debtors, and did not

act in the best interests of the Debtors in causing them to enter into the Insider Agreements. CSS


28
     Id. at 42-43.
29
     Additional Insider Revenue Transfers might have been paid after the first quarter of 2024.
30
     See CSSE 2022 Annual Report, Ex. 10.2.3 (Amendment to Management Agreement dated March 15, 2021). The
     Insider Agreements, and the amendments thereto, were related party transactions that were executed and approved
     by Rouhana on behalf of both the Company and CSS.



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and the other CSS Entities, and Rouhana and Newmark personally, profited and derived personal

financial benefit at the expense of the Company by virtue of the Insider Agreements.

         67.        The other D&Os were not provided with, nor did they request, information

sufficient to allow them to make an informed and reasoned determination with respect to the

terms of the Insider Agreements, but were conflicted, beholden to, and blindly followed the

directions of, Rouhana. Although the Company could have terminated one or both of the Insider

Agreements, the D&Os made no reasonable effort to analyze or question the necessity of the

Insider Agreements to the Company, to terminate the Insider Agreements, to seek reasonable

alternatives for the Company to procure any necessary services from non-insiders, or to

renegotiate the terms of the Insider Agreements in any meaningful way.31 Instead, the D&Os

permitted the Company to continue operating under the Insider Agreements, notwithstanding its

financial distress. By allowing the payment of management and licensing fees to Rouhana and

his controlled entities, the D&Os were supine, conflicted, beholden to Rouhana, and failed to act

in the best interests of the Company.

F.         The Intellectual Property License Agreements

         68.        In the two years prior to the Petition Date, Debtors CSSE, Screen Media

Ventures, LLC (“SMV”), TOFG, LLC (“TOFG”), and Halcyon Television, LLC (“Halcyon”)

entered into a series of intellectual property licensing agreements (the “Intellectual Property

License Agreements”). These Intellectual Property License Agreements include the following:


                    (a)        Distribution Agreement dated June 29, 2022 between Debtor SMV and
                               FilmRise Acquisitions LLC.


31
     Pursuant to an amendment made to each of the Insider Agreements in 2023, certain of the recorded amounts were
     to be satisfied through the issuance to CSS of shares of the Company’s Class A common stock in lieu of cash.
     These amounts include approximately $6.2 million of combined Insider Revenue Transfers incurred in 2023 and
     $200,000 in Q1 2024.



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                    (b)        Letter Agreement dated December 1, 2022 between Debtor SMV and
                               Graceling Distribution, LLC.

                    (c)        IFTA Multiple Rights Distribution Agreement (Television and Library)
                               dated December 30, 2022 between Debtor SMV and RH Capital, Inc.

                    (d)        Contract dated April 12, 2023 between CSSE and Tatatu Hungary KFT.

                    (e)        IFTA Multiple Rights Distribution Agreement (Television and Library)
                               dated September 11, 2023 between Debtor TOFG, and That’s the Spirit
                               V.O.F.

                    (f)        Letter Agreement dated September 29, 2023 between Debtor SMV and
                               Robert B. Becker, Inc.

                    (g)        Letter Agreement dated March 13, 2024 between Debtor SMV and the
                               Nagelberg Trust.

                    (h)        Letter Agreement dated March 22, 2024 between Debtor SMV and the
                               Nagelberg Trust.

                    (i)        Letter Agreement dated March 27, 2024 between Debtor SMV and the
                               Nagelberg Trust.

                    (j)        License and Distribution Agreement dated April 16, 2024 among
                               (i) Debtors SMV, TOFG, and Halcyon, on the one hand; and (ii) WS
                               Pictures Licensing, LLC, on the other hand.

                    (k)        Letter Agreement dated April 24, 2024 between Debtor SMV and the
                               Nagelberg Trust.

                    (l)        Letter Agreement dated May 10, 2024 between Debtor SMV and DJCTM
                               Lending, LLC.

                    (m)        Letter Agreement dated May 13, 2024 between Debtor SMV and the
                               Nagelberg Trust.

       69.          The Nagelberg Trust is a holder of the Company’s Series A Preferred Stock and

provided $1.75 million to Debtors’ chapter 11 counsel as of the Petition Date, Reed Smith LLP,

on account of professional fees incurred prior to the Petition Date. Mr. Nagelberg, the trustee of

the Nagelberg Trust, is a personal friend of Rouhana.

       70.          The Intellectual Property License Agreements were executed and/or approved by

Rouhana on behalf of CSSE and the other Debtors at a time that each of the Debtors was or was


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rendered insolvent, undercapitalized, and/or generally unable to pay its debts as they came due.

The terms of the Intellectual Property License Agreements were not characterized by fair dealing

or a fair price. None of the Debtors received reasonably equivalent value in exchange for

entering into the Intellectual Property License Agreements.

         71.        Rouhana acted in his own self-interest, deceived, and manipulated the Debtors

and the other D&Os, and did not act in the best interests of the Debtors in causing them to enter

into the Intellectual Property License Agreements.

         72.        The other D&Os were not provided with, nor did they request, information

sufficient to allow them to make an informed and reasoned determination with respect to the

Intellectual Property License Agreements, but were beholden to, and blindly followed the

directions of, Rouhana. By allowing entry into the Intellectual Property Agreements, the D&Os

were supine, conflicted, beholden to Rouhana, and failed to act in the best interests of the

Debtors.

G.         The Company Paid Millions in Dividends to Shareholders While It Was Insolvent

         73.        The Company has outstanding certain Series A Preferred Stock, on which it

declared monthly cash dividends of $0.2031 per share since July 2018. Declared dividends

totaled approximately $4.1 million in 2020, $9 million in 2021, $9.7 million in 2022, and $14

million in 2023 (the “Preferred Dividends”).32

         74.        The Company was not required to declare and pay dividends on its Preferred

Stock; in fact, under certain circumstances, the declaration of such dividends would have been

illegal. As a matter of contract, if the Company were to “fail to declare and pay such dividends

for 18 consecutive months, the certificate of designations rights and preferences governing the


32
     CSSE 2021 Annual Report at 31, CSSE 2022 Annual Report at 37 and CSSE 2023 Annual Report at 37.



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Series A preferred stock provides certain remedies for holders, including, but not limited to the

right to appoint at least two directors to [the Board].”33       On January 5, 2024, the Board

determined to temporarily suspend the payment of monthly cash dividends on the Preferred

Stock, beginning with the payment scheduled for on or around January 15, 2024.34

          75.       As described above, the Company reported significant net losses from at least

2020 and was or was rendered insolvent, undercapitalized, and/or generally unable to pay its

debts as they came due during the relevant period. Moreover, the Company lacked either

sufficient surplus or sufficient net profits to lawfully declare the Preferred Dividends.

Nevertheless, the Board authorized the declaration and payment of the Preferred Dividends

through 2023, when the Company was not legally permitted to do so, the Company was not

meeting its obligations to creditors or employees, and when paying the Preferred Dividends was

obviously not in the best interest of the Company.

          76.       Rouhana acted in his own self-interest, deceived, and manipulated the Company

and the other D&Os, and did not act in the best interests of the Company in causing it to pay the

Preferred Dividends during a time when the Company was in financial distress, and had no

obligation to pay the Preferred Dividends. Rouhana was motivated by financial gain and the

gain of known shareholders, and also by the desire to prevent shareholders from exercising the

contractual right to nominate additional directors to the Board (and thereby dilute his control).

          77.       The other D&Os were not provided with, nor did they request, information

sufficient to allow them to make an informed and reasoned determination with respect to the

payment of the Preferred Dividends, but were beholden to, and blindly followed the directions



33
     CSSE 2023 Annual Report at 11.
34
     Id. at 38.



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of, Rouhana. By allowing the payment of the Preferred Dividends, the D&Os were supine,

conflicted, beholden to Rouhana, and failed to act in the best interests of the Company.

H.          The Company’s Insiders Failed to Pay Employee Wages,
            Medical Benefits and Payroll Taxes

          78.       Pursuant to the CSS Management Agreement, the CSS Entities (under the

ownership and control of Rouhana and Newmark) were responsible for the administration and

payment of the Company’s payroll and benefits, including payroll taxes. As set forth in the

CSSE 2022 Annual Report:35

                    The Company is part of CSS’s central cash management system whereby
                    payroll and benefits are administered by CSS and the related expenses are
                    charged to its subsidiaries and funds are transferred between affiliates to
                    fulfill joint liquidity needs and business initiatives. Settlements fluctuate
                    period over period due to timing of liquidity needs.

          79.       Although paying employees is among the most basic corporate functions, the

Debtors admitted that they failed to make such payments prior to commencing their chapter 11

cases.36 Furthermore, CSS and the Company failed to make approximately $15.5 million in

accrued but unpaid withholding taxes during the nine-month period from October 3, 2023 to

June 7, 2024 (collectively, the “Employee Wage, Benefit and Tax Obligations”).37 Around the

same time that the Defendants failed to cause the Company to pay and provide medical benefits

to its employees and to satisfy its tax obligations, they permitted the Company to continue

making payments to its shareholders.




35
     CSSE 2022 Annual Report at F-37.
36
     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A) Pay Prepetition Wages,
     Salaries, Reimbursable Expenses, and Other Obligations on Account of Compensation and Benefits Programs,
     Etc. [D.I. 3, at ¶ 15] (“[T]he Debtors were unable to make payroll for the two-week period ending June 14,
     2024.”).
37
     Id. ¶ 26.



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       80.          The CSS Entities, Rouhana, Newmark and the other D&Os did not act in the best

interests of the Company by failing to pay the Company’s obligations to its employees, including

over $15.5 million in payroll withholding taxes.

       81.          The D&Os knew or should have known that the Company was not paying its

obligations to its employees, including over $15.5 million in payroll withholding taxes. Despite

knowing that the Employee Wage, Benefit and Tax Obligations were not being paid, the D&Os

neither requested, nor were provided with, adequate information or reporting with respect to the

non-payment of employee obligations, but were instead concerned about their own liability and

were beholden to, and blindly followed and did not question the decisions of Rouhana. By

allowing the non-payment of Employee Wage, Benefit and Tax Obligations, the D&Os were

supine, conflicted, beholden to Rouhana, and failed to act in the best interests of the Company.

I.        The CSS and Rouhana Proofs of Claim and Potential
          Claims That May Be Asserted by Other Defendants

       82.          On September 18, 2024, CSS filed Proof of Claim No. 397, asserting a claim

against CSSE in the amount of $12,640,273.50 for amounts due under the Insider Agreements.

       83.          On September 18, 2024, Rouhana filed Proof of Claim No. 402, asserting a claim

against CSSE in the amount of $1,000,000 for contribution and indemnity under the Insider

Agreements.

       84.          Other Defendants may assert claims against the Debtors’ estates.

                                          CAUSES OF ACTION

                                      FIRST CLAIM FOR RELIEF
                               Against Rouhana for Breach of Fiduciary Duty
       85.          The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.




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       86.          At all relevant times, Rouhana, in his capacity as Chairman of the Board and CEO

of the Company, owed fiduciary duties of due care, loyalty, and good faith to the Company

which required him to, among other things, act in good faith and in the best interests of the

Company, and exercise such care as an ordinarily prudent person in a like position would use

under similar circumstances.

       87.          Rouhana breached those duties by causing the Company and its subsidiaries to

enter into the numerous transactions described herein that were not in the best interests of the

Company, but which were instead intended to elevate Rouhana’s own interests above the

Company’s. For example, Rouhana caused the Company to engage in the Merger on the basis of

his own unsupported and wholly unreasonable financial projections of Redbox’s and the

Company’s future performance, for reasons including that CSS would be entitled to a revenue

stream from management and licensing fees, and he understood the consummation of the Merger

would cause him to be released from all claims pursuant to the Release Agreement.

       88.          Neither the Merger nor the Release Agreement was in the best interest of the

Company and Rouhana failed to act in good faith or on an informed basis. While the Company

retained Guggenheim as its financial advisor in connection with the Merger, Rouhana directed

Guggenheim to use his own unreasonable financial projections to support the Merger, instead of

seeking an unbiased opinion from the Company’s financial professionals. The Merger was

disastrous for the Company, including for the easily foreseeable reason that the Company had no

ability to support the massive liabilities that it assumed in connection with the Merger.

Moreover, the Company received no consideration from Rouhana in exchange for the Release

Agreement pursuant to which he was purportedly released from all claims.




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       89.          Rouhana further breached his duties to the Company by causing the Company to

continue operating under the Insider Agreements – which were related party transactions

executed and approved by Rouhana on behalf of both the Company and CSS – and to pay the

Insider Revenue Transfers to CSS, notwithstanding the Company’s financial distress. Rouhana

benefited personally from the Insider Revenue Transfers – which were effectively dividends paid

by the Company to its controlling shareholder – both through his ownership of CSS and also as

an individual whose compensation would be paid directly under the Management Agreement.

The terms of the Insider Agreements were not characterized by fair dealing or a fair price. Yet,

Rouhana made no attempt to seek out alternatives to the Insider Agreements that would have

been favorable to the Company, preferring instead to place his own interests ahead of the

Company’s, including during periods that the Company experienced severe financial distress.

       90.          In addition, Rouhana authorized the Company to pay out millions of dollars in

dividends to preferred shareholders while the Company was in financial distress, and when the

Company had no legal ability or contractual obligation to do so. Rouhana was motivated by

financial gain and the gain of known shareholders, and the desire to maintain control over the

Company. Rouhana failed to exercise due care or to act in good faith, was disloyal, and he

placed his own interests ahead of the Company’s.

       91.          Similarly, Rouhana breached his duties by causing the Company to enter into

numerous Intellectual Property License Agreements, which were not in the Company’s interests,

but which benefited Rouhana’s known acquaintances and others. The Debtors failed to receive

fair value in exchange for the Intellectual Property License Agreements, most of which were

entered into shortly before the Debtors filed voluntary chapter 11 cases, and which thereby

deprived the Debtors’ estates of meaningful value.




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       92.          Furthermore, Rouhana’s failure to cause the Company to pay necessary Employee

Wage, Benefit and Tax Obligations is inexcusable, especially during periods when he authorized

the Company to continue performing under the Insider Agreements and paying dividends to

shareholders. By placing his own interests ahead of the Company’s and by failing to exercise

due care or to act in good faith, Rouhana breached his fiduciary duties.

       93.          Rouhana’s course of conduct was not grounded in any reasonable business

judgment and was the result of negligence, gross negligence and a gross abuse of discretion. In

engaging in this conduct, Rouhana did not exercise due care, did not act in good faith, and did

not act with an honest or reasonable belief that his course of conduct was in the best interests of

the Company.

       94.          Moreover, in undertaking his actions, Rouhana furthered his self-interest rather

than the interests of the Company. Rouhana thereby breached his duty of loyalty owed to the

Company.

       95.          As a direct and/or proximate result of the breaches of fiduciary duties committed

by Rouhana, the Company suffered damages in an amount to be determined at trial.

                                   SECOND CLAIM FOR RELIEF
           Against Each Non-Rouhana Board Defendant for Breach of Fiduciary Duty
       96.          The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

       97.          At all relevant times, the Board Defendants, in their capacity as members of the

Board, owed fiduciary duties of due care, loyalty, and good faith to the Company which required

them to, among other things, act in good faith and in the best interests of the Company, and

exercise such care as an ordinarily prudent person in a like position would use under similar

circumstances.



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       98.          The Board Defendants breached those duties by causing the Company and its

subsidiaries to enter into the numerous transactions described herein that were not in the best

interests of the Company, but which were instead intended to elevate their own interests above

the Company’s. For example, the Board Defendants caused the Company to engage in, or failed

to prevent, the Merger on the basis of Rouhana’s and his management team’s unsupported and

wholly unreasonable financial projections of Redbox’s and the Company’s future performance,

for reasons including that the Board Defendants understood the consummation of the Merger

would cause them to be released from all claims pursuant to the Release Agreement.

       99.          Neither the Merger nor the Release Agreement was in the best interest of the

Company and the Board Defendants failed to act in good faith or on an informed basis. While

the Company retained Guggenheim as its financial advisor in connection with the Merger, the

Board Defendants permitted Rouhana and his management team to direct Guggenheim to use

their own unreasonable financial projections to support the Merger, instead of seeking an

unbiased opinion from the Company’s financial professionals. The Board Defendants’ blind

reliance on that information – without any attempt to question the reasonableness of the

projections or underlying assumptions provided by the Company’s management – was negligent,

grossly negligent, in bad faith and constituted a breach of their fiduciary duties.

       100.         The Merger was disastrous for the Company, including for the easily foreseeable

reason that the Company had no ability to support the massive liabilities that it assumed in

connection with the Merger. Moreover, the Company received no consideration from the Board

Defendants in exchange for the Release Agreement pursuant to which they were purportedly

released from all claims.




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       101.         The Board Defendants further breached their duties to the Company by causing

the Company to continue operating under the Insider Agreements – which were related party

transactions – and to pay the Insider Revenue Transfers to CSS, notwithstanding the Company’s

financial distress. The terms of the Insider Agreements were not characterized by fair dealing or

a fair price. Yet, the Board Defendants made no attempt to seek out alternatives to the Insider

Agreements that would have been favorable to the Company, preferring instead to place

Rouhana’s interests ahead of the Company’s, including during periods that the Company

experienced severe financial distress.

       102.         In addition, the Board Defendants authorized the Company to pay out millions of

dollars in dividends to preferred shareholders, while the Company was in financial distress, and

when the Company had no legal ability or contractual obligation to do so.               The Board

Defendants were motivated by financial gain and the gain of known shareholders, and a desire to

maintain control over the Company. The Board Defendants failed to exercise due care or to act

in good faith, were disloyal, and they placed their own interests ahead of the Company’s.

       103.         Similarly, the Board Defendants breached their duties by causing the Company to

enter into numerous Intellectual Property License Agreements, which were not in the Company’s

interests, but which benefited Rouhana’s known acquaintances and others. The Debtors failed to

receive fair value in exchange for the Intellectual Property License Agreements, most of which

were entered into shortly before the Debtors filed voluntary chapter 11 cases, and which thereby

deprived the Debtors’ estates of meaningful value.

       104.         Furthermore, the Board Defendants’ failure to cause the Company to pay

necessary Employee Wage, Benefit and Tax Obligations is inexcusable, especially during

periods when they authorized the Company to continue performing under the Insider Agreements




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and paying dividends to shareholders. By placing their own interests ahead of the Company’s

and by failing to exercise due care or to act in good faith, the Board Defendants breached their

fiduciary duties.

       105.         The Board Defendants’ course of conduct, including their approval and support of

Rouhana’s course of conduct, was not grounded in any reasonable business judgment and was

the result of negligence, gross negligence and a gross abuse of discretion. In engaging in this

conduct, the Board Defendants did not exercise due care, did not act in good faith, and did not

act with an honest or reasonable belief that their course of conduct was in the best interests of the

Company.

       106.         Moreover, in undertaking these actions, the Board Defendants furthered their own

and Rouhana’s self-interest rather than the interests of the Company. The Board Defendants

thereby breached their duty of loyalty owed to the Company.

       107.         As a direct and/or proximate result of the breaches of fiduciary duties committed

by the Board Defendants, the Company suffered damages in an amount to be determined at trial.

                                     THIRD CLAIM FOR RELIEF
          Against Each Non-Rouhana Officer Defendant for Breach of Fiduciary Duty
       108.         The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

       109.         At all relevant times, the Officer Defendants, in their capacity as titled or acting

senior officers of the Company, owed fiduciary duties of due care, loyalty, and good faith to the

Company which required them to, among other things, act in good faith and in the best interests

of the Company, and exercise such care as an ordinarily prudent person in a like position would

use under similar circumstances.




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       110.         The Officer Defendants breached those duties by facilitating and failing to

prevent the numerous transactions described herein that were not in the best interests of the

Company, but which were instead intended to elevate their own interests above the Company’s.

For example, the Officer Defendants facilitated the Company’s entry into the Merger on the

basis of unsupported and wholly unreasonable financial projections of Redbox’s and the

Company’s future performance, for reasons including that the Officer Defendants understood the

consummation of the Merger would cause them to be released from all claims pursuant to the

Release Agreement.

       111.         Neither the Merger nor the Release Agreement was in the best interest of the

Company and the Officer Defendants failed to act in good faith or on an informed basis. While

the Company retained Guggenheim as its financial advisor in connection with the Merger, the

Officer Defendants directed Guggenheim to use their own unreasonable financial projections to

support the Merger, instead of seeking an unbiased opinion from the Company’s financial

professionals. The Officer Defendants’ conduct in supplying that information was negligent,

grossly negligent, in bad faith and constituted a breach of their fiduciary duties.

       112.         The Merger was disastrous for the Company, including for the easily foreseeable

reason that the Company had no ability to support the massive liabilities that it assumed in

connection with the Merger. Moreover, the Company received no consideration from the Officer

Defendants in exchange for the Release Agreement pursuant to which they were purportedly

released from all claims.

       113.         The Officer Defendants further breached their duties to the Company by

facilitating the Company’s continued operation under the Insider Agreements – which were

related party transactions – and to pay the Insider Revenue Transfers to CSS, notwithstanding the




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Company’s financial distress. The terms of the Insider Agreements were not characterized by

fair dealing or a fair price. Yet, the Officer Defendants made no attempt to seek out alternatives

to the Insider Agreements that would have been favorable to the Company, preferring instead to

place Rouhana’s interests ahead of the Company’s, including during periods that the Company

experienced severe financial distress.

       114.         Similarly, the Officer Defendants breached their duties by facilitating the

Company’s entry into numerous Intellectual Property License Agreements, which were not in the

Company’s interests, but which benefited Rouhana’s known acquaintances and others. The

Debtors failed to receive fair value in exchange for the Intellectual Property License Agreements,

most of which were entered into shortly before the Debtors filed voluntary chapter 11 cases, and

which thereby deprived the Debtors’ estates of meaningful value.

       115.         In addition, the Officer Defendants facilitated the Company paying out millions of

dollars in dividends to preferred shareholders, while the Company was in financial distress, and

when the Company had no legal ability or contractual obligation to do so.                The Officer

Defendants were motivated by financial gain and the gain of known shareholders, and a desire to

maintain control over the Company. The Officer Defendants failed to exercise due care or to act

in good faith, were disloyal, and they placed their own interests ahead of the Company’s.

       116.         Furthermore, the Officer Defendants’ failure to cause the Company to pay

necessary Employee Wage, Benefit and Tax Obligations is inexcusable, especially during

periods when they facilitated the Company’s continued performance under the Insider

Agreements. By placing their own interests ahead of the Company’s and by failing to exercise

due care or to act in good faith, the Officer Defendants breached their fiduciary duties.




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         117.       The Officer Defendants’ course of conduct, including their approval and support

of Rouhana’s course of conduct, was not grounded in any reasonable business judgment and was

the result of negligence, gross negligence and a gross abuse of discretion. In engaging in this

conduct, the Officer Defendants did not exercise due care, did not act in good faith, and did not

act with an honest or reasonable belief that their course of conduct was in the best interests of the

Company.

         118.       Moreover, in undertaking these actions, the Officer Defendants furthered their

own and Rouhana’s self-interest rather than the interests of the Company.                The Officer

Defendants thereby breached their duties of loyalty owed to the Company.

         119.       As a direct and/or proximate result of the breaches of fiduciary duties committed

by the Officer Defendants, the Company suffered damages in an amount to be determined at

trial.

                                   FOURTH CLAIM FOR RELIEF
                  Against Each CSS Entity Defendant for Breach of Fiduciary Duty
         120.       The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

         121.       At all relevant times, the CSS Entity Defendants, in their capacity as controlling

shareholders of the Company, owed fiduciary duties of due care, loyalty, and good faith to the

Company which required them to, among other things, act in good faith and in the best interests

of the Company, and exercise such care as an ordinarily prudent person in a like position would

use under similar circumstances.

         122.       The CSS Entity Defendants breached those duties by facilitating and failing to

prevent the numerous transactions described herein that were not in the best interests of the

Company, but which were instead intended to elevate their own interests above the Company’s.



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For example, the CSS Entity Defendants caused the Company to engage in, or failed to prevent,

the Merger on the basis of Rouhana’s and his management team’s unsupported and wholly

unreasonable financial projections of Redbox’s and the Company’s future performance, for

reasons including that CSS would be entitled to a revenue stream from management and

licensing fees and that the CSS Entity Defendants understood the consummation of the Merger

would cause Rouhana and others affiliated with the CSS Entity Defendants to be released from

all claims pursuant to the Release Agreement.

       123.         Neither the Merger nor the Release Agreement was in the best interest of the

Company and the CSS Entity Defendants failed to act in good faith or on an informed basis.

While the Company retained Guggenheim as its financial advisor in connection with the Merger,

the CSS Entity Defendants permitted Rouhana and his management team to direct Guggenheim

to use their own unreasonable financial projections to support the Merger, instead of seeking an

unbiased opinion from the Company’s financial professionals. The CSS Entity Defendants’

blind reliance on that information – without any attempt to question the reasonableness of the

projections or underlying assumptions provided by the Company’s management – was negligent,

grossly negligent, in bad faith and constituted a breach of their fiduciary duties.

       124.         The Merger was disastrous for the Company, including for the easily foreseeable

reason that the Company had no ability to support the massive liabilities that it assumed in

connection with the Merger. Moreover, the Company received no consideration from the CSS

Entity Defendants in exchange for the Release Agreement pursuant to which Rouhana and others

affiliated with the CSS Entity Defendants were purportedly released from all claims.

       125.         The CSS Entity Defendants further breached their duties to the Company by

causing the Company to continue operating under the Insider Agreements – which were related




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party transactions entered into for the CSS Entity Defendants’ benefit – and to pay the Insider

Revenue Transfers to CSS, notwithstanding the Company’s financial distress. The terms of the

Insider Agreements were not characterized by fair dealing or a fair price. Yet, the CSS Entity

Defendants made no attempt to seek out alternatives to the Insider Agreements that would have

been favorable to the Company, preferring instead to place their interests ahead of the

Company’s, including during periods that the Company experienced severe financial distress.

       126.         In addition, the CSS Entity Defendants facilitated the Company paying out

millions of dollars in dividends to preferred shareholders, while the Company was in financial

distress, and when the Company had no legal ability or contractual obligation to do so. The CSS

Entity Defendants were motivated by financial gain and the gain of known shareholders, and a

desire to maintain control over the Company. The CSS Entity Defendants failed to exercise due

care or to act in good faith, were disloyal, and they placed their own interests ahead of the

Company’s.

       127.         Similarly, the CSS Entity Defendants breached their duties by causing the

Company to enter into numerous Intellectual Property License Agreements, which were not in

the Company’s interests, but which benefited Rouhana’s known acquaintances and others. The

Debtors failed to receive fair value in exchange for the Intellectual Property License Agreements,

most of which were entered into shortly before the Debtors filed voluntary chapter 11 cases, and

which thereby deprived the Debtors’ estates of meaningful value.

       128.         Furthermore, the CSS Entity Defendants’ failure to cause the Company to pay

necessary Employee Wage, Benefit and Tax Obligations is inexcusable, especially during

periods when they authorized the Company to continue performing under the Insider Agreements

and paying dividends to shareholders. By placing their own interests ahead of the Company’s




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and by failing to exercise due care or to act in good faith, the CSS Entity Defendants breached

their fiduciary duties.

         129.       The CSS Entity Defendants’ course of conduct, including their approval and

support of Rouhana’s course of conduct, was not grounded in any reasonable business judgment

and was the result of negligence, gross negligence and a gross abuse of discretion. In engaging

in this conduct, the CSS Entity Defendants did not exercise due care, did not act in good faith,

and did not act with an honest or reasonable belief that their course of conduct was in the best

interests of the Company.

         130.       Moreover, in undertaking these actions, the CSS Entity Defendants furthered their

own and Rouhana’s self-interest rather than the interests of the Company. The CSS Entity

Defendants thereby breached their duties of loyalty owed to the Company.

         131.       As a direct and/or proximate result of the breaches of fiduciary duties committed

by the CSS Entity Defendants, the Company suffered damages in an amount to be determined at

trial.

                                     FIFTH CLAIM FOR RELIEF
           Against All Defendants For Aiding & Abetting Breaches of Fiduciary Duties
         132.       The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

         133.       As alleged above, each of the Defendants breached his, her, or its respective

fiduciary duties of loyalty and care that were owed to the Company and the other Debtors. Each

of the other Defendants aided and abetted the foregoing breaches by knowingly participating in

these breaches of fiduciary duties.




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       134.         As a direct and/or proximate result of the aiding and abetting of the other

Defendants’ breaches of fiduciary duties, the Company suffered damages in an amount to be

determined at trial.

                                     SIXTH CLAIM FOR RELIEF
     Against CSS, Rouhana, Newmark and the Other CSS Entities to Avoid and Recover
                    Insider Revenue Transfers as Fraudulent Transfers
                           (11 U.S.C. §§ 548(a)(1)(B) and 550(a))
       135.         The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

       136.         In the two years leading up to the Petition Date, the Company made Insider Revenue

Transfers to CSS pursuant to the Insider Agreements in the approximate amount of $38 million.

       137.         The Insider Revenue Transfers were transfers of property of the Company.

       138.         The Company did not receive reasonably equivalent value in exchange for the

payment of the Insider Revenue Transfers.

       139.         At the time the Insider Revenue Transfers were made, the Company (a) was

engaged or about to engage in a business for which its remaining assets and/or capital were

unreasonably small in relation to the business; (b) intended to incur, or reasonably should have

believed that it would incur, debts beyond its ability to pay as they became due; and/or (c) was

insolvent or would be rendered insolvent.

       140.         At all relevant times, the Company had actual creditors holding unsecured claims

allowable within the meaning of sections 502 and 544(b) of the Bankruptcy Code.

       141.         As a result, the Insider Revenue Transfers should be avoided pursuant to section

548(a)(1)(B) of the Bankruptcy Code.

       142.         Upon avoidance of the Insider Revenue Transfers, Plaintiff is entitled under

section 550(a) of the Bankruptcy Code to recover the value of the avoided transfers from CSS as



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the initial transferee of the Insider Revenue Transfers, or from Rouhana, Newmark or the other

CSS Entities as the entity for whose benefit such transfer was made or as subsequent transferees.

                                   SEVENTH CLAIM FOR RELIEF
     Against CSS, Rouhana, Newmark and the Other CSS Entities to Avoid and Recover
                    Insider Revenue Transfers as Fraudulent Transfers
                     (11 U.S.C. §§ 544(b) and 550(a); 6 Del. C. § 1305)
       143.         The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

       144.         In the four years leading up to the Petition Date, the Company made Insider Revenue

Transfers to CSS pursuant to the Insider Agreements in excess of $55 million.

       145.         The Insider Revenue Transfers were transfers of property of the Company.

       146.         The Company did not receive reasonably equivalent value in exchange for the

payment of the Insider Revenue Transfers.

       147.         At the time the Insider Revenue Transfers were paid, the Company (a) was

engaged or about to engage in a business for which its remaining assets and/or capital were

unreasonably small in relation to the business; (b) intended to incur, or reasonably should have

believed that it would incur, debts beyond its ability to pay as they became due; and/or (c) was

insolvent or would be rendered insolvent.

       148.         At all relevant times, the Company had actual creditors holding unsecured claims

allowable within the meaning of sections 502 and 544(b) of the Bankruptcy Code.

       149.         As a result, the Insider Revenue Transfers should be avoided pursuant to section

544 of the Bankruptcy Code and section 1305 of the Delaware Uniform Fraudulent Transfer Act.

       150.         Upon avoidance of the Insider Revenue Transfers, Plaintiff is entitled under

section 550(a) of the Bankruptcy Code to recover the value of the avoided transfers from CSS as




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the initial transferee of the Insider Revenue Transfers, or from Rouhana, Newmark, or the other

CSS Entities as the entity for whose benefit such transfer was made or as subsequent transferees.

                                   EIGHTH CLAIM FOR RELIEF
      Against All Defendants for Avoidance of Insider Releases as Fraudulent Transfers
                           (11 U.S.C. §§ 548(a)(1)(B) and 550(a))
       151.         The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

       152.         Plaintiff disputes that the May 2022 Release Agreement provides for a release by

the Company of its own directors, officers, and managers from all claims and liabilities arising

through the consummation of the transactions contemplated by the Merger Agreement (which

occurred in August 2022).

       153.         However, to the extent the Release Agreement provided a release to any

Defendant of any claim asserted in this action, the Insider Releases were transfers of property of the

Debtors within two years of the Petition Date.

       154.         The Debtors did not receive reasonably equivalent value in exchange for the

granting the Insider Releases.

       155.         At the time of the effective date of the Insider Releases, the Company (a) was

engaged or about to engage in a business for which its remaining assets and/or capital were

unreasonably small in relation to the business; (b) intended to incur, or reasonably should have

believed that it would incur, debts beyond its ability to pay as they became due; and/or (c) was

insolvent or would be rendered insolvent by the transactions undertaken in connection with the

Insider Releases.

       156.         At all relevant times, the Company had actual creditors holding unsecured claims

allowable within the meaning of sections 502 and 544(b) of the Bankruptcy Code.




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       157.         As a result, the Insider Releases should be avoided pursuant to section

548(a)(1)(B) of the Bankruptcy Code, and are no bar to the claims asserted in this Complaint.

                                     NINTH CLAIM FOR RELIEF
      Against All Defendants for Avoidance of Insider Releases as Fraudulent Transfers
                      (11 U.S.C. §§ 544(b) and 550(a); 6 Del. C. § 1305)
       158.         The allegations in the preceding paragraphs of this Complaint are hereby

realleged and incorporated by reference as though fully set forth herein.

       159.         Plaintiff disputes that the May 2022 Release Agreement provides for a release by

the Company of its own directors, officers, and managers from all claims and liabilities arising

through the consummation of the transactions contemplated by the Merger Agreement (which

occurred in August 2022).

       160.         However, to the extent the Release Agreement provided a release to any

Defendant of any claim asserted in this action, the Insider Releases were transfers of property of

the Debtors within four years of the Petition Date.

       161.         The Debtors did not receive reasonably equivalent value in exchange for the

granting the Insider Releases.

       162.         At the time of the granting and effectiveness of the Insider Releases, the Company

(a) was engaged or about to engage in a business for which its remaining assets and/or capital

were unreasonably small in relation to the business; (b) intended to incur, or reasonably should

have believed that it would incur, debts beyond its ability to pay as they became due; and/or

(c) was insolvent or would be rendered insolvent.

       163.         At all relevant times, the Company had actual creditors holding unsecured claims

allowable within the meaning of sections 502 and 544(b) of the Bankruptcy Code.




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       164.         As a result, the Insider Revenue Transfers should be avoided pursuant to section

544 of the Bankruptcy Code and section 1305 of the Delaware Uniform Fraudulent Transfer Act,

and are no bar to the claims asserted in this Complaint.

                                    TENTH CLAIM FOR RELIEF
                      Against All Defendants to Recover Preferred Dividends and
                            Insider Revenue Transfers as Illegal Dividends
       165.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

       166.         The Company declared Preferred Dividends totaling approximately $4.1 million

in 2020, $9 million in 2021, $9.7 million in 2022, and $14 million in 2023.

       167.         The Company was under no obligation to declare the Preferred Dividends.

       168.         In the four years leading up to the Petition Date, the Company made Insider Revenue

Transfers to CSS in excess of $55 million.

       169.         The Insider Revenue Transfers were the equivalent of dividends paid by the

Company to its controlling shareholder.

       170.         The declaration of the Preferred Dividends and the payment of the Insider

Revenue Transfers violated the General Corporation Law of the State of Delaware (“DGCL”),

including (without limitation) sections 170, 172, 173 and 174 of the DGCL. At the time the

Preferred Dividends and the Insider Revenue Transfers were paid, the Company (i) lacked

sufficient surplus as defined in and computed in accordance with sections 154 and 244 of the

DGCL; (ii) lacked sufficient net profits for the fiscal year in which the transfers were made

and/or the preceding fiscal year; and (iii) was otherwise insolvent or became insolvent as a result

of the transfers.

       171.         Each of the Defendants knew or should have known that the Preferred Dividends

and the Insider Revenue Transfers violated the DGCL.


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       172.         In causing the Company to declare the Preferred Dividends and to make the

Insider Revenue Transfers, the Defendants did not exercise due care, and did not rely reasonably

or in good faith on any appropriate records, information, opinions, reports or statements

regarding the value or amount of the Company’s assets, liabilities and/or net profits, or any other

competent facts pertinent to the existence and amount of surplus or other funds from which

dividends might properly be declared and paid by the Company.

       173.         The declarations of the Preferred Dividends and the Insider Revenue Transfers

were not grounded in any reasonable business objective, and were the result of negligence, gross

negligence, and a gross abuse of discretion by the Defendants. As a result, the Defendants are

jointly and severally liable for the full amount of the Preferred Dividends and the Insider

Revenue Transfers, due to their negligent, grossly negligent or willful declarations of the

Preferred Dividends and Insider Revenue Transfers in violation of the DGCL.

                                 ELEVENTH CLAIM FOR RELIEF
 Against All Defendants for Non-Payment of Employee Wage, Benefit and Tax Obligations
       174.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

       175.         The Company failed to pay the Employee Wage, Benefit and Tax Obligations,

including over $15.5 million in payroll withholding taxes.

       176.         The Defendants’ failure to cause the Company to pay necessary Employee Wage,

Benefit and Tax Obligations was inexcusable, especially during periods when they authorized

the Company to continue performing under the Insider Agreements and paying dividends to

shareholders.

       177.         The non-payment of the Employee Wage, Benefit and Tax Obligations was

willful and violated the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”) subjecting



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the Defendants to personal liability for the non-payment of the Employee Wage, Benefit and Tax

Obligations.

       178.         The willful violations of the FLSA based on the non-payment of the Employee

Wage, Benefit and Tax Obligations are attributable to the Defendants as a consequence of their

authority over and responsibility for the decisions that resulted in the FLSA violations. Each

Defendant exercised control over significant day-to-day operational aspects of the Company,

including holding a position of authority and responsibility for employee compensation and

benefits, and ensuring the payment of the Employee Wage, Benefit and Tax Obligations.

       179.         As a direct and/or proximate result of the non-payment of the Employee Wage,

Benefit and Tax Obligations by the Defendants, the Company suffered damages in an amount to

be determined at trial.

                                   TWELFTH CLAIM FOR RELIEF
   Objection to Claims of All Defendants – Disallowance Under 11 U.S.C. §§ 502(d) & (j)
       180.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

       181.         All Defendants, including Defendants Rouhana and CSS, are liable to Plaintiff for

their breaches of fiduciary duty, receipt of fraudulent transfers and/or payment of illegal

dividends.

       182.         Pursuant to section 502(d) of the Bankruptcy Code, any and all claims of the

Defendants filed or scheduled in the Bankruptcy Cases (the “Defendants’ Claims”) must be

disallowed until such time as the Defendants have paid to Plaintiff the amounts for which they

are liable as set forth in the Complaint.

       183.         Plaintiff reserves all rights to further object to any Defendants’ Claims on any and

all additional grounds.



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                                    THIRTEENTH CLAIM FOR RELIEF
  Against All Defendants for Equitable Subordination of Claims Under 11 U.S.C. § 510(c)

       184.         Plaintiff repeats and realleges the allegations contained in each preceding

paragraph of the Complaint as though set forth fully herein.

       185.         The conduct of the Defendants, as alleged above, constitutes inequitable conduct.

       186.         By reason of the Defendants’ conduct, each of the Debtors became insolvent,

thereby harming their respective unsecured creditors.

       187.         Allowing the Defendants to receive payment on account of any Defendants’

Claims prior to payment to the Debtors’ general unsecured creditors would be unfair and

inequitable.

       188.         Equitable subordination of the Defendants’ Claims is consistent with the

Bankruptcy Code.

       189.         Because of the transactions and actions described in the preceding paragraphs of

this Complaint, the Defendants’ Claims should be equitably subordinated to all of the claims of

the Debtors’ general unsecured creditors pursuant to section 510(c) of the Bankruptcy Code.

                                            PRAYER FOR RELIEF

          WHEREFORE, by reason of the foregoing, Plaintiff requests that the Court enter an

order and judgment:

                    (1)        On the First Claim for Relief, for damages in an amount to be determined
                               at trial for Rouhana’s breach of fiduciary duties;

                    (2)        On the Second Claim for Relief, for damages in an amount to be
                               determined at trial for the Board Defendants’ breach of fiduciary duties;

                    (3)        On the Third Claim for Relief, for damages in an amount to be determined
                               at trial for the Officer Defendants’ breach of fiduciary duties;

                    (4)        On the Fourth Claim for Relief, for damages in an amount to be
                               determined at trial for the CSS Entity Defendants’ breach of fiduciary
                               duties;



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                    (5)        On the Fifth Claim for Relief, for damages in an amount to be determined
                               at trial for Defendants’ aiding and abetting breach of fiduciary duties;

                    (6)        On the Sixth Claim for Relief, for avoidance of Insider Revenue Transfers
                               as fraudulent transfers;

                    (7)        On the Seventh Claim for Relief, for avoidance of Insider Revenue
                               Transfers as fraudulent transfers;

                    (8)        On the Eighth Claim for Relief, for avoidance of the Insider Releases as
                               fraudulent transfers;

                    (9)        On the Ninth Claim for Relief, for avoidance of the Insider Releases as
                               fraudulent transfers;

                    (10)       On the Tenth Claim for Relief, for recovery of Preferred Dividends and
                               the Insider Revenue Transfers as illegal dividends;
                    (11)       On the Eleventh Claim for Relief, for damages in an amount to be
                               determined at trial for the D&O Defendants’ non-payment of the
                               Employee Wage, Benefit and Tax Obligations;

                    (12)       On the Twelfth Claim for Relief, for disallowance of the Defendants’
                               claims asserted in the Debtors’ bankruptcy cases;

                    (13)       On the Thirteenth Claim for Relief, for equitable subordination of the
                               Defendants’ claims asserted in the Debtors’ bankruptcy cases;

                    (14)       For costs of suit incurred herein, including (without limitation) attorneys’
                               fees, to the extent permitted by law; and

                    (15)       Granting Plaintiff such other and further relief as the Court deems just and
                               proper.




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Dated: March 12, 2025                       PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Steven W. Golden
                                            Richard M. Pachulski (admitted pro hac vice)
                                            Alan J. Kornfeld (admitted pro hac vice)
                                            Steven W. Golden (DE Bar No. 6807)
                                            Tavi C. Flanagan (admitted pro hac vice)
                                            919 N. Market Street, 17th Floor
                                            P.O. Box 8705
                                            Wilmington, DE 19899-8705 (Courier 19801)
                                            Telephone: (302) 652-4100
                                            Facsimile: (302) 652-4400
                                            Email: rpachulski@pszjlaw.com
                                                     akornfeld@pszjlaw.com
                                                     sgolden@pszjlaw.com
                                                     tflanagan@pszjlaw.com

                                            Counsel to George L. Miller, Chapter 7 Trustee




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